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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TENNESSEE
                                     WESTERN DIVISION



NOVO NORDISK A/S AND NOVO                           Case No. _______________
NORDISK INC.

                 Plaintiffs,

       v.

PRO HEALTH INVESTMENTS, LLC,

                 Defendant.

                             PLAINTIFF NOVO NORDISK INC.’S
                           CORPORATE DISCLOSURE STATEMENT

       Pursuant to Fed. R. Civ. P. 7.1, Plaintiff, Novo Nordisk Inc., makes the following

disclosures:

       Novo Nordisk Inc. (“NNI”), by and through undersigned counsel, makes the following

disclosures pursuant to Federal Rule of Civil Procedure 7.1:

       NNI is a privately held corporation wholly owned by Novo Nordisk US Commercial

Holdings, Inc.

       Novo Nordisk US Commercial Holdings, Inc. is a privately held corporation wholly

owned by Novo Nordisk US Holdings, Inc.

       Novo Nordisk US Holdings, Inc. is a privately held corporation wholly owned by Novo

Nordisk A/S (“NNAS”).

       NNAS is a publicly traded corporation headquartered in Bagsværd, Denmark. No

publicly held company owns 10% or more of the stock of NNAS.

       NNAS’s corporate parent is Novo Holdings A/S. Novo Holdings A/S is wholly owned by

Novo Nordisk Foundation, a privately held entity.


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                                   Respectfully submitted,

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                                   Novo Nordisk Inc.




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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document was provided to a

private process server for personal service on the following and also sent via U.S. Certified Mail

(with return receipt requested) on the 20th day of June 2023 to the following:

       Estes Folk
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       Suite 18
       Memphis, TN 38111-4667

       Registered Agent for Defendant

                                             s/ Steven A. Riley




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